                      Case 1:21-mj-00656-GMH Document 1 Filed 11/15/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                              District of &ROXPELD

                  United States of America                                )
                             v.                                           )
                                                                          )       Case No.
                   Aiden Henry Bilyard
                                                                          )
                     DOB: XXXXXX                                          )
                                                                          )
                                                                          )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                  in the county of                                            in the
                          LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                            Offense Description
        18 U.S.C. §§ 231(a)(3), 2 - Civil Disorder and Aiding and Abetting;
        18 U.S.C §§ 111(a)(1), (b), and 2 - Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon and Aiding and Abetting; 18
        U.S.C. §§ 1361 and 2 - Destruction of Government Property and Aiding and Abetting;
        18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) and 2 - Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon and
        Aiding and Abetting;
        18 U.S.C. § 1752(a)(2) and (b)(1)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;
        18 U.S.C. § 1752(a)(4) and (b)(1)(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;
        40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in the Capitol Grounds or Buildings;
        40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings.
          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                        Complainant’s signature

                                                                                             Andrew Maurer, Task Force Officer
                                                                                                        Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                                   Digitally signed
                                                                                                                by G. Michael
Date:             11/15/2021                                                                                    Harvey
                                                                                                           Judge’s signature

City and state:                         :DVKLQJWRQ'&                               G. Michael Harvey, U.S. Magistrate Judge
                                                                                                        Printed name and title
